                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                            WESTERN DIVISION
                            NO. 5:23-CV-340-D-RN

 SOUTHLAND NATIONAL INSURANCE                  )
 CORPORATION in Liquidation, et al.,           )
                                               )        ORDER GRANTING
                      Plaintiffs,              )      PLAINTIFFS' CONSENT
                                               )        MOTION TO STAY
                      v.                       )
                                               )
 GREG E. LINDBERG, et al.,                     )
                                               )
                      Defendants.              )

       Before the Court is Plaintiffs Southland National Insurance Corporation, in

liquidation, Bankers Life Insurance Company, in liquidation, Colorado Bankers Life

Insurance Company, in liquidation, and the Special Deputy Liquidators of Colorado

Bankers Life Insurance Company, Bankers Life Insurance Company, Southland

National Insurance Corporation's, on behalf of both the policyholders and creditors of

each of these insolvent companies (collectively "Plaintiffs") Consent Motion to Stay

this action.

       Plaintiffs, with the consent of Defendants AR Purchasing Solutions, LLC, AR

Purchasing Solutions 2, LLC, ComplySmart, LLC, CV Investments, LLC, and HPCSP

Investments, LLC (the "SAC Defendants"), seek an order staying this case against

the SAC Defendants until relief from the stay is sought by Plaintiffs. Plaintiffs, with

the consent of Defendants Greg Lindberg, Global Growth Holdings, Inc., Alpharetta,

LLC, and GBIG Holdings, LLC (the "Lindberg Defendants"), seek an order staying this

case against the Lindberg Defendants until Defendant Lindberg is sentenced in




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connection with the Bribery Conviction, 1 Fraud Conviction, 2 and when the court

enters a disgorgement order in the SEC Action. 3 The Court, upon consideration of

the motion, finds that the Plaintiffs' motion should be GRANTED.

      IT IS THEREFORE ORDERED that Plaintiffs' Consent Motion to Stay is

Granted. This action is stayed against the SAC Defendants until relief from the stay

is sought by Plaintiffs. Furthermore, this action is stayed against the Lindberg

Defendants until Defendant Lindberg is seritenced •in connection with the Bribery

Conviction, Fraud Conviction, and when the court enters a disgorgement order in the

SEC Action, at which point the Plaintiffs and Lindberg Defendants shall, within 30

days of the later of these actions, notify this Court of the conclusion of those

proceedings and propose a briefing schedule to address the preclusive impact of those

proceedings on this case.

      SO ORDERED. This the la day of April, 2025.




                                         United States District Judge




1 United States v. Lindberg, 3:23-CR-48 (W.D.N.C.)
2United States v. Lindberg, 3:23-CR-48 (W.D.N.C.)
3 United States Securities and Exchange Commission v. Lindberg, et al., l:22-CV-715
(M.D.N.C.)
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